                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                              BRYSON CITY DIVISION


UNITED STATES OF AMERICA                      )       DOCKET NO. 2:08CR21
                                              )
               vs.                            )       ORDER FOR DISMISSAL
                                              )
3)ANTHONY LEE REED                            )


       THIS MATTER is before the Court on the Government’s motion to dismiss the

indictment as it relates to the captioned Defendant only.

       For cause shown,

       IT IS, THEREFORE, ORDERED that the Government’s motion is ALLOWED, and

the indictment is hereby DISMISSED WITHOUT PREJUDICE as to the Defendant Anthony

Lee Reed only.

       The Clerk is directed to transmit this Order electronically to defense counsel, the United

States Attorney, the United States Marshal and the U.S. Probation Office.

                                                  Signed: September 11, 2008




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